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                  United States Court of Appeals
                                FIFTH CIRCUIT
                             OFFICE OF THE CLERK
LYLE W. CAYCE                                                   TEL. 504-310-7700
CLERK                                                        600 S. MAESTRI PLACE,
                                                                     Suite 115
                                                            NEW ORLEANS, LA 70130

                           December 22, 2022
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 22-11037     State of Texas v. Becerra
                       USDC No. 5:22-CV-185

Enclosed is an order entered in this case.


                                 Sincerely,
                                 LYLE W. CAYCE, Clerk



                                 By: _________________________
                                 Melissa V. Mattingly, Deputy Clerk
                                 504-310-7719
Mr. Ryan L. Bangert
Ms. Julie Marie Blake
Mr. Matthew Scott Bowman
Mr. Nicholas S. Crown
Mr. Christopher D. Hilton
Ms. Karen S. Mitchell
Ms. McKaye Lea Neumeister
Mr. Michael S. Raab
Ms. Natalie Deyo Thompson
